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U.S. Department of Justice

United States Attorney
Southern District of New York

 

BY EMAIL

The Honorable Andrew E. Krause
United States Magistrate Judge
Southern District of New York
300 Quarropas Street

White Plains, New York 10601

United States District Courthouse
300 Quarrapas Street
White Plains, New York 10601

October 19, 2020

Re: United States v. Christopher Dennis et al., 20 Cr. 545

Dear Judge Krause:

The Indictment in the above-referenced case was originally filed under seal. On October
19, 2020, a number of the charged defendants were arrested. As a result, the Government
respectfully requests that the Court unseal the Indictment.

SO ORDERED:

Ch Lees Fine

 

HONORABLE ANDREW E. KRAUSE
UNITED STATES MAGISTRATE JUDGE

Respectfully submitted,

AUDREY STRAUSS
Acting United States Attorney

/s/ Derek Wikstrom

Derek Wikstrom / Lindsey Keenan
Assistant United States Attorneys
Tel: (914) 993-1946 / 1907

 
